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                          SILICON
                          SELLOUT

                          HOW APPLE’S PARTNERSHIP
                          WITH CHINESE MILITARY
                          CHIP MAKER YMTC THREATENS
                          AMERICAN NATIONAL SECURITY

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                          JUNE 2022
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EXECUTIVE SUMMARY
Yangtze Memory Technologies Company (YMTC) is a Chinese semiconductor maker with known ties to the Chinese
military. The Chinese government wants to disrupt the global memory chip market and win leadership for YMTC. As of
May 2022, Apple reportedly will ship the iPhone 14 with YMTC memory chips. The deal could:

•   Compromise iPhone users’ security and privacy with untrusted Chinese technology

•   Concentrate more chip production in China, increasing supply chain risk

•   Force the exit of at least one memory chip supplier from the U.S. or another democratic country, thereby potentially
    reducing U.S. jobs

•   Give legitimacy to state-subsidized military-linked YMTC as a chipmaker

•   Bolster the Chinese government’s quest to dominate global semiconductor production, reducing U.S. leadership
    and innovation

Ideally Apple will voluntarily end its partnership with YMTC. It can source its chips from existing suppliers like Micron,
Kioxia, Samsung, SK Hynix, Western Digital, and Intel. Failing that, the report describes how US policymakers must
restrict technology exports to and imports from YMTC.




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INTRODUCTION
Yangtze Memory Technologies Company (YMTC) is a Chinese semiconductor maker with known ties to the Chinese
military. In March, a Credit Suisse report revealed that Apple, the world’s most valuable company, is qualifying YMTC
memory chips for use in the iPhone 14, iPad, and potentially other products.1 Digitimes reported that Apple cleared
YMTC’s validation process and that the phones would ship this May.2

Apple’s engagement with YMTC, which has been called China’s “national champion memory chip producer,” raises
concerns on several levels. First is its connection to Chinese military leaders. In December 2020, James Mulvenon,
Director of Intelligence Integration at SOS International, released a report that identified YMTC’s ties to the Chinese
military. These ties include executives and board members leading efforts to modernize China’s military.3 Mr. Mulvenon
also authored the similar seminal report on China’s Semiconductor Manufacturing International Company’s (SMIC) ties
to the Chinese military. Subsequently the U.S. Commerce Department added SMIC to the Entity List.4 The Apple deal also
presents the possibility that malicious technology and practices from the Chinese military could be introduced to Apple
end-users and others. A section in this paper details technological risks to users’ security and privacy.

                                                                     The partnership with Apple provides YMTC with insight to
The Apple-YMTC partnership                                           world-class chip, computer and smartphone design and
                                                                     brings international credibility to YMTC, thereby furthering
could provide material support                                       the Chinese government’s ambitions to dominate the global
                                                                     semiconductor market. However, increasing chip production
to the Chinese military, which                                       in China runs counter to the strategy proposed by the U.S.
has used American-made                                               Departments of Homeland Security and Commerce to
                                                                     mitigate information and communications technology (ICT)
semiconductor technology to                                          production risk and strengthen supply chain resiliency.5
advance its military capabilities.                           As demonstrated by semiconductor market economics
                                                             and detailed in this report, the Apple-YMTC deal will likely
                                                             hasten the exit of an existing memory chip maker from a
democratic country. Finally, the Apple-YMTC partnership could provide material support to the Chinese military,
which has used American-made semiconductor technology to advance its military capabilities. The partnership
underscores failures in the United States to incentivize domestic chip production, which has become a focus of
the Biden Administration.




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WHY IS APPLE TURNING TO YMTC?
Apple’s consideration of YMTC likely reflects its desire to drive down semiconductor costs by putting pressure on other
manufacturers. Indeed talks began between the two companies in 2018.6 Some analysts speculate that the Chinese
government has pressured Apple to work with YMTC. Consistent with its goal to dominate the global chip market,
the Chinese government could lean on the iPhone maker to use its preferred national champion chipmaker YMTC or
even insist on it as a condition of retaining access to the Chinese market. For Apple, as for many U.S. companies, the
opportunity to increase sales is an irresistible feature of the Chinese market. China has one billion consumers—and a
government that conditions foreign companies’ ability to sell on their willingness to play by its rulebook. Last year, Apple
reported sales of $68 billion from China and revenues up 70 percent, making it Apple’s fastest-growing market, notes
Light Reading International Editor Iain Morris.7

The recent moves with YMTC and Apple suggests that subsidies could increase even further. Already YMTC has received
some $24 billion in government investment funds structured to evade World Trade Organization rules against illegal
state aid.8 Such subsidies explain in part why China’s share of global semiconductor manufacturing capacity, which was
barely 1 percent in 2000, increased to 11 percent by 2010, 15 percent by 2020 and is forecast to increase to 24 percent by
2030, notes a recent industry report.9

However China has not gained chip market share because of superior, more innovative chips. Rather, it buys market
share with low-priced, heavily subsidized chips, sold below cost. This drives down chip prices and reduces innovation.
Such was the testimony of Stephen Ezell, Vice President of Global Innovation Policy for the Information Technology and
Innovation Foundation (ITIF) to the United States Security and Economic Review Council.10 He calculates that China’s
low-cost chip strategy has reduced the industry’s overall chip patent intensity, costing U.S. firms some 5,000 patents,
which would have otherwise been issued.

In any event, the consolidation of production within China is at odds with the post-pandemic recognition that supply
chains must be diversified and redundant. While Apple recently issued warnings about slowed shipments from the
Chinese factory closures because of Covid-19, the company appears to expand production in China and strengthen its
ties to the government.11 While Apple is diversifying some supply to India and Southeast Asia, it is also increasing the
number of suppliers in China, which remains the core of its manufacturing capability. China’s technology sector, carefully
funded and orchestrated by the government, has better insight into Apple’s manufacturing needs than any other
country’s technology sector, including the U.S.

Apple CEO Tim Cook’s claims of American patriotism are meaningless rhetoric. Apple has created perhaps ten times
as many jobs in China as it has in the U.S. Apple’s strategy continues to be: (1) software development based in the U.S.,
(2) manufacturing based in China and (3) a global retail network to showcase the product. Manufacturing capabilities
inevitably give rise to engineering and hardware design capabilities, creating momentum for the technology industry to
migrate over time to China.

                                                                   Apple’s deal with YMTC will accelerate China’s plans to
                                                                   become self-sufficient in semiconductors. It could put at
Apple’s deal with YMTC will                                        least one major non-Chinese semiconductor producer out of
accelerate China’s plans to                                        business. It risks exposing yet more intellectual property to
                                                                   Chinese theft. It reduces American national and economic
become self-sufficient in                                          security and Americans’ data privacy (and for Apple users
semiconductors. It could                                           globally) through increasing contact with the Chinese
                                                                   government’s surveillance state. Policymakers should act
put at least one major                                             while there is still a window to do so.
non-Chinese semiconductor
producer out of business.


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CHINA’S END GAME: CONTROLLING
THE MEMORY CHIP MARKET
The Chinese government recognizes that the ability to produce advanced technologies is key to establishing China as
the world’s leading economic and political power. As a component of China’s Made in China 2025 plan, the National
Integrated Circuit plan calls for China to meet 70 percent of its semiconductor needs through domestic production
by 2025, and to reach parity with international leading-edge technology companies in all segments of the industry by
2030.12 Today China manufactures an estimated 37 percent of the chips it consumes, still greater than the U.S. whose
share of global production has fallen to 12 percent.13 While some observe that China has fallen short of its professed
goals, the fact remains that is has progressed significantly in chip production and threatens to unseat the U.S. and its
competitors in different chip domains.

The following table illustrates some key points about the global market for semiconductors. While logic chips form
the “brain” of an electronic device, memory chips are the “brawn” which store vast amounts of data and constitute an
essential part of virtually every device. These two sectors comprise more than half of the total market for chips, with
each accounting for some 28 percent of the market and more than $150 billion each in annual revenue. Six companies—
Samsung Electronics, Kioxia, Western Digital, SK Hynix, Micron Technology, and Intel—dominate the memory chip
market. Moreover the demand for memory chips, both DRAM and NAND segments (explained in the next section), is
expected to double by 2030.14

 Global Semiconductor Market By Function 2021
 Type                     Leading Companies                                         Sector Revenue               Percent of Global
                                                                                       (billions)                  Chip Market
 Logic                    Intel, TSMC, AMD                                                $154.8                       27.8%
                          Samsung, Micron Technology, SK Hynix,
 Memory                                                                                   $153.8                       27.7%
                          Western Digital Kioxia, Intel etc.
                          Infineon, NXP Semiconductor,
 Micro-controllers                                                                         $80.2                       14.4%
                          Texas Instruments
                          Texas Instruments, Analog Devices,
 Analog                                                                                    $74.1                       13.3%
                          Skyworks
 Other                    Broadcom, Qualcomm, Renesas                                      $92.8                       16.7%
                                                                                          $555.7
 Source: Based on World Semiconductor Trade Statistics, Boston Consulting Group and Coalition for a Prosperous America



China’s Advantages: Massive Government Subsidies and Rampant IP Theft
China has focused its semiconductor strategy, including subsidies of over $100 billion, on every sector of the chip
market. It has achieved most success in relatively less complex chips like light emitting diodes (LEDs). Memory chips
represent the first highly complex sector where it is breaking through to parity with leading-edge producers.

YMTC benefits from Chinese state subsidies. It also may have benefited from IP theft. That was a charge made by a
Sanford Bernstein analyst Mark Newman in the New York Times in 2018 who said that YMTC memory chips had designs
too similar to Samsung’s to be a coincidence. 15

Additionally, Fujian Jinhua, another Chinese chipmaker, entered into a joint venture with Taiwanese chipmaker UMC,
which hired away Micron engineers and encouraged them to steal Micron trade secrets and pass them onto the Chinese
company.16 Fujian Jinhua was added to the Entity List in 2018.17 Then in June 2020, a Taiwanese court found UMC and
three engineers guilty of stealing the trade secrets.18


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IP theft is a widespread, virtually routine, practice in China’s technology industry.19 This reduces costs for Chinese firms
as compared to competitors. Hardware companies in the U.S., South Korea, and other non-China locations typically
cross-license patents with each other in multimillion dollar deals. While this may add to the cost of chips, it compensates
these companies for the R&D they have invested in developing their patented technologies, and it affords them the
freedom to operate in the same markets as one another. Chinese companies routinely circumvent such deals by relying
on the IP insulation that stems from their geographic location in China, a country whose court systems are notorious for
shielding domestic companies against foreign companies’ legitimate claims of IP infringement.


How Apple Benefits from an Unstable Chip Market
There are two kinds of memory chips, DRAM and NAND. DRAM memory chips are the faster of the two, but they lose
their stored data when electricity is switched off, so they tend to be used in network or online storage devices that are
always connected to a power supply. NAND or flash memory on the other hand, retains stored data even without power.
That makes NAND essential for smartphones and many other devices. The Apple-YMTC partnership involves NAND
memory.

Intense competition to manufacture memory chips has consolidated the sector. There were 25 memory chip companies
in 1990, but only six major players remain today — Samsung Electronics, Toshiba, Western Digital, SK Hynix, Micron
Technology, and Intel. YMTC presently accounts for only 3 percent of this market.

Three companies lead the DRAM memory business specifically: Samsung Electronics, SK Hynix, and Micron Technology.
The only American company of these is the Idaho-based Micron, which makes both DRAM and NAND chips at its fabs
in the U.S., China, Singapore, and elsewhere. The existence of only one American-based memory chip producer today
is a result of competition and price volatility in the memory market which drove other U.S. players out of the industry.
As private sector companies, U.S. chipmakers have tended to exit a sector during any extended period of low profits.
Foreign chipmakers, including those in Korea and Japan, have traditionally been able to get support either from their
governments or from profitable related divisions of the same parent company, to enable them to hold on through low-
profit periods.

In the last few years, the NAND memory market has achieved a period of stability and reasonable profitability, as
explained in Yole Development’s NAND Market Overview report. The stability has been due to growing demand for
memory as cloud computing has grown in popularity in the business sector, while smartphones and video applications
have grown among consumers. The Covid pandemic accelerated both trends.


   NAND OPERATING MARGINS
                                     60%
                                                                                                         Absent further consolidation, long-term profitability is expected to remain
                                                                                                          pressured, with 6 incumbent suppliers and YMTC from China emerging
                                     40%
         NAND operating margin (%)




                                                                                                                                                           30%        29%
                                                                                                                  25%                           26%                                                27%
                                                                                                                            23%
                                     20%                                                                                              20%
                                                                                                                                                                                           18%
                                                                                                                                                                                                             21%
                                                            17%                                        15%
                                                 11%                  12%
                                                                                  6%                                                                                                                                     8%
                                                                                             4%                                                                                                                                     5%         5%
                                       0%



                                     -20%



                                     -40%
                                               Q1-20      Q2-20     Q3-20       Q4-20     Q1-21      Q2-21      Q3-21      Q4-21 Q1-22E Q2-22E Q3-22E Q4-22E                              2021     2022     2023       2024       2025       2026
                                                   Samsung             Kioxia           Western Digital            Micron          SK hynix           Solidigm           Industry

     •                               Samsung has historically maintained the highest NAND operating margin due to technology leadership and strong enterprise presence
     •                               Micron’s advantageous cost position helps offset below-market ASPs
     •                               SK hynix greatly improved its profitability in 2021 by aggressively ramping leading-edge 128-layer technology, thereby lowering cost per bit
     •                               Solidigm NAND margins have improved due to strength in its enterprise/datacenter SSD business (and accounting changes)
                                       o    Intel stopped recording depreciation on NAND PP&E due to its acquisition by SK hynix, thereby reducing fully-loaded costs and driving margins higher
     •                               Industry margins in the current cycle bottomed in Q1-21 and likely peaked in Q3, aligned with the overall market trajectory
     •                               Improved pricing outlook related to the chemical contamination issues at Kioxia/WD should move margins higher beginning in Q2-22

                                           Note: margin data estimated based on published financials and modeled results
                                                                                                                                                                                                    NAND Market Monitor Q1 2022 | Monitor | www.yole.fr | © 2022   25




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However, stable prices in NAND memory are not good news for Apple as it prefers declining prices on components to
optimize its long-term cost reduction goals. The price stability likely prompted Apple to enter into talks with YMTC.
YMTC is owned by a conglomerate of Chinese state entities: the National IC Industry Investment Fund, the state
university-controlled investment fund Tsinghua Unigroup, and the Hubei Science and Technology Investment Group.
YMTC has received most of its investment from Beijing’s National IC Industry Investment Fund—a massive pool of state
funding designed to evade World Trade Organization (WTO) restrictions on government subsidies. With billions of dollars
of subsidies in hand, YMTC can underprice other NAND memory suppliers, provided it resolves its quality issues.

The chart below shows Yole’s forecast of rapid gains in YMTC market share:
    NAND WAFER MARKET SHARE
     • Samsung has maintained share with Pyeongtaek & Xi’an X2 ramps; YMTC emerging
           100%
                    1%    1%    2%        2%    2%     3%        4%      4%
                    4%    5%    4%        4%    4%                              5%        5%     6%       6%     6%    6%     7%      7%
                                                       4%        4%      3%                                                                              9%       10%       12%
                                                                                4%        3%     3%       3%     3%                                                                   13%
                                                                                                                       3%     3%      3%
                   12%         12%    12%      12%                                                                                                       3%        3%
                         13%                           11%       12%    12%                                                                                                  3%
                                                                                13%      12%     12%      12%    12%   12%                                                             3%
                                                                                                                             12%      13%
             80%                                                                                                                                        12%       12%       12%       12%
                   12%   12%   12%    11%      11%     11%       10%    10%
                                                                                10%       9%     9%       9%     9%    9%     9%      9%                 9%        9%        9%        9%
                               14%    14%      14%     14%       13%    13%              13%     13%      13%    13%
             60%   16%   15%                                                    11%                                    13%   13%      13%               13%       13%       13%       13%

                                               19%     19%       20%    19%     16%      19%     19%      18%    18%
                               20%    19%                                                                              18%   18%      18%
                   21%   20%                                                                                                                            17%       17%       17%       16%
             40%




             20%                               37%     37%              38%     40%      38%     37%      38%    38%   37%
                         34%   35%    36%                        37%                                                         37%      36%               35%       35%       34%
                   33%                                                                                                                                                                33%



              0%
                   Q1-20 Q2-20 Q3-20 Q4-20 Q1-21 Q2-21 Q3-21 Q4-21 Q1-22 Q2-22 Q3-22 Q4-22 Q1-23 Q2-23 Q3-23 Q4-23                                     2024      2025      2026      2027
                     Samsung     Kioxia        Western Digital         Micron         SK hynix        Solidigm     YMTC       Other
     www.yole.fr                                                                                                                                                     © 2022 Yole Développement



                                                                                                                                            NAND Market Monitor Q1 2022 | Monitor | www.yole.fr | © 2022   86


The memory capacity of YMTC chips is catching up to world-class chipmakers and is already competitive with Samsung
at 128-layers (which refers to the level of sophistication and capability of the chip), though it suffers from yield issues.20
These issues will likely be resolved in the near future, opening the door for YMTC to become a major player in the global
NAND market. YMTC also has two more large-scale fabs in the works, doubling its facilities.

                                                                                                       Apple choosing YMTC to supply NAND memory for the iPhone
Apple choosing YMTC to                                                                                 14 would be the greatest victory for the Chinese semiconductor
                                                                                                       industry in its short,checkered history. It would lift YMTC into
supply NAND memory for                                                                                 the upper echelon of chipmakers. Other users of memory chips,
the iPhone 14 would be the                                                                             ranging from computer makers to auto producers to home
                                                                                                       appliance makers, would quickly line up to test YMTC
greatest victory for the Chinese                                                                       memory devices.
semiconductor industry in its
short,checkered history. It
would lift YMTC into the upper
echelon of chipmakers.




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TIME TO “THINK DIFFERENT”:
FIVE RISKS TO AMERICANS AND
OTHERS FROM THE APPLE-YMTC DEAL
A deal with YMTC may be good for Apple’s bottom line, but YMTC chips inside the world’s devices presents profound
risks to America and the world. Apple once prided itself on the ability to “Think Different.” It needs to think different
about YMTC.

Many U.S. policymakers and experts have cautioned that YMTC poses a clear and present danger to America’s national
security. In July of 2021, U.S. Senator Bill Hagerty and U.S. Representative Michael McCaul called on U.S. Commerce
Secretary Gina Raimondo to add YMTC to the Entity List, citing “specific facts that link YMTC to the CCP military, the
Party-state, and a national semiconductor plan designed to deplete the U.S. defense industrial base.”21 Likewise, after
news of Apple’s potential partnership with YMTC surfaced in March 2022, U.S. Senator Marco Rubio wrote in a letter to
CEO Tim Cook, “In a more just world, the Biden Administration would have already added YMTC to its trade blacklists…
America’s premier tech companies should recognize the tremendous risks – both to American national security and to
their own ledgers, should any presidential administration update its export control listings in the near future – incurred
by doing business with YMTC for its memory chips or any other products.”22

The Apple-YMTC deal presents risks to security, privacy, technology leadership, supply chain, and jobs. The following
section demonstrates each risk.


Risk #1: National Security – The Battlefield Control Switch
Cyber intrusion via Chinese-made semiconductors is not theoretical. Supermicro is a U.S.- Taiwanese computer
maker with worldwide manufacturing. During the 2010s, the Chinese military in concert with a Chinese government
subcontractor, allegedly inserted a tiny chip into thousands of Supermicro motherboards with the capability to create
stealth remote access. The attack was reported to have impacted almost 30 companies, including a major bank, Apple,
and Amazon Web Services. Apple subsequently ripped and replaced 7,000 servers, and Amazon terminated a China-
based supplier as a result. The case was corroborated by multiple U.S. intelligence and security officials.23

YMTC chips could be similarly, intentionally compromised with rogue features after normal memory products were
approved and designed into the phone. These built-in and concealed vulnerabilities would not be detected during
manufacturing. They could be exploited months or years later to disrupt performance or exfiltrate data from a system
containing the compromised chip.

Such a scenario was detailed in P.W. Singer’s novel Ghost Fleet: A Novel of the Next World War, which describes the
grounding of U.S. fighter jets because of compromised chips made in China. The Pentagon’s Trusted Integrated Circuit
Strategy and Trusted Foundry Program was established to ensure clean chips for defense, but no such program exists
for consumer devices. Chips for consumer products could also be hacked to produce devastating consequences or be
leveraged to install a bot as part of a botnet attack on a larger system.

Electronics with embedded chips are enabled with a “kill switch,” a feature to shut down the device upon the user’s
command. Such features, under Chinese military production, could be enabled or programmed to shut down remotely
by an unauthorized Chinese government actor or another. Military hardware has been seemingly compromised by a kill
switch in at least one known instance,24 and in consumer devices. For example, a kill switch could shut off a phone used
in a political demonstration or a critical device connected to a larger system, such as an electric grid.




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Risk #2: Privacy – Apple Expands Chinese Government Surveillance
Apple has also touted its commitments to privacy. The company declares, “Privacy is a fundamental human right. At
Apple, it’s also one of our core values. Your devices are important to so many parts of your life.”25 Yet Apple’s level of
cooperation with the Chinese government – effectively helping the state surveil and censor 230 million Chinese users
of Apple products – renders this statement hypocritical. Apple is no stranger to toeing the Chinese government’s line
on human rights abuse like censorship, surveillance or slave labor, as an exposé by the New York Times has detailed. In
2017, Apple, in conformity with China’s Cybersecurity Law, launched a joint venture in China to build a data center that
would enable the Chinese government’s access to Apple customer data.26

                                                                 Americans enjoy the protections of their civil liberties in a way
                                                                 that Chinese citizens do not. This prompted U.S. authorities, in
                                                                 part, to restrict Huawei. However, the same threats associated
YMTC chips equipped with                                         with Huawei exist with respect to YMTC. YMTC chips equipped
spyware and installed on                                         with spyware and installed on Apple devices could funnel
                                                                 collected data back to Beijing increasingly difficult proposition
Apple devices could funnel                                       for any company. A January 2022 letter from a technology
                                                                 industry trade groups told regulators that devices “…include
collected data back to Beijing                                   hundreds of components – each with their own complex supply
                                                                 chains – sourced from around the world from trusted vendors
                                                                 and suppliers. Even network products that are assembled in
                                                                 the United States by U.S. companies rely on foreign inputs from
                                                                 their global partners.”27


Risk #3: Lost U.S. Technology Leadership – The PRC’s “National
Champion” Model Unfairly Eliminates Competitors
Throughout the 1990s, many experts theorized that China would remain the low-end manufacturing “workshop” for
products made with U.S. intellectual property. That view has given way to the realization that Chinese businesses and
government had no intention of keeping their country just a workshop. China wants its entities to control the whole value
chain: design, product development, manufacture, marketing, and distribution. China’s strategy to steal and subsidize its
way to success has worked in many domains. It could just be a matter of time before it reaches the tipping point
in semiconductors.

                                                                 This shift has already taken place across multiple industries.
                                                                 Today China manufactures a majority of the world’s laptop and
China’s strategy to steal and                                    desktop computers. Some of them are designed and made by
subsidize its way to success                                     homegrown Chinese companies, like Lenovo, while some carry
                                                                 U.S. brand names, like HP. China also supplies a majority of the
has worked in many domains.                                      world’s solar panels, flat panel displays, networking equipment
It could just be a matter                                        and drones – and many of these products reflect indigenous
                                                                 effort in both product design and production.
of time before it reaches
                                                          Semiconductors could be more important than all these
the tipping point                                         industries. Semiconductors are foundational and critical to all
in semiconductors.                                        electronics, from simple household appliances to automobiles,
                                                          to computers and to sophisticated defense electronics like
                                                          missile systems or fighter jets. China’s incursion threatens to
                                                          disrupt and completely reshape the semiconductor industry as
we know it today. China is driving a shift from an industry where chip leaders come from various countries in the free
world to one in which the leadership of all segments in increasingly centralized in China.



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A primary way the Chinese government has worked to turn China into the dominant technology producer is through
an abundance of subsidies for state-backed or nominally independent “national champions.” From 2011 to 2020, China
invested as much as $100 billion,28 and maybe more, to support the development of a home-grown industry and to end
its dependence on semiconductor imports. The Biden White House supply chain report observes that YMTC itself has
received an estimated $24 billion in subsidies.29

The Apple-YMTC deal will further strengthen China’s position as the epicenter of global high-tech manufacturing and
push it closer to leading in advanced research and development. The notion of China as an R&D leader can only be
expected to grow stronger once Chinese semiconductor companies start producing chips comparable in quality to those
produced by major western manufacturers. China’s breakthrough in memory chips is also likely to pave the way for
similar breakthroughs in logic chips and other semiconductor sectors.

China’s playbook to steal and subsidize its way to tech industry domination is well-illustrated by Huawei, now the world’s
leading supplier of equipment for telecom networks. One of the byproducts of Huawei’s subsidized growth was the
failure of the two North American giants in the industry, Lucent and Nortel. Both were multi-billion-dollar companies
in the 1990s but went into steep decline as Huawei leveraged subsidies to offer its products at lower prices in the early
2000s. A shrunken Lucent was sold to French telecom equipment maker Alcatel in 2006. Nortel went from being the
largest company on the Canadian stock exchange in 1999 to bankruptcy in 2009.30 By 2017, as the world’s networks
were upgrading to 5G wireless telecom, Huawei was the largest supplier of 5G equipment, even larger than the next two
competitors, Nokia and Ericsson, combined.

Seeing the dangers of letting a Chinese company build the world’s 5G networks, the Trump Administration embarked
on a successful campaign to counter Huawei through export controls on American technologies destined for Huawei, as
well as a diplomacy which convinced approximately sixty countries and numerous telecom operators to keep Huawei
products out of their 5G networks.31 However Huawei merely shifted its strategy to other products and services
like smart phones and cloud computing, technologies which also present security and privacy risks.32 Despite the
handicaps placed on Huawei, no U.S. company has re-emerged as a major supplier of wireless networks. The American
semiconductor industry should not be allowed to suffer the same fate.


Risk #4: Sluggish Economic Growth
–More Supply Chain Shortages and Bottlenecks
An Apple-YMTC pact could exacerbate the risk of American consumers already experiencing shortages of goods.
Today a global semiconductor shortage is damaging virtually every industry’s capacity to produce goods and services.
Automobile production is well below target levels, assembly line workers have been laid off, and the conversion to
electric vehicles is behind schedule. Industry leaders have said they expect the shortages to last into 2023.

Global semiconductor supply chains are among the most complex in the world, with various constituent parts of many
chips often crossing multiple borders in the production process. Many of these supply chains use parts made in China.
China’s “zero-COVID” goal has been enforced through rigorous lockdowns of millions of people, thus constricting the
Chinese people’s ability to move freely and work. China’s severe and unpredictable COVID lockdowns, along with severe
congestion in Chinese ports and a global shortage of freight ships, has led to shortages and snafus in western goods
markets. The Chinese government made it clear during the 2020 COVID outbreak with protective equipment that at
times of shortage, it would always prioritize its home market.

Apple is today experiencing the costs of crippled Chinese supply chains. It has warned of revenue shortfalls of as much
as $8 billion.33 Many Apple suppliers operate in China’s lockdown-hit areas, and workers have revolted in some factories
where they are forced to sleep on the premises and other injustices. Executives have warned that curbs are likely to
have global impact, disrupting logistics and denting company’s sales.34 Apple’s deepening engagement with Chinese
business could make this situation worse. In 2021, China leapfrogged Taiwan to become Apple’s largest source of
suppliers, with 51 Chinese companies providing parts for the company’s products.35 In view of the lockdown situation in
China, Apple concentrating operations further in China and sourcing YMTC chips does not seem smart or prudent.



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While U.S. tariffs in 2019 cut U.S. imports from China, U.S. imports from China in the first quarter of 2022 reached their
highest level ever, easily surpassing the 2018 level.36 This was driven by the pandemic as people purchased electronics
to work and learn from home. Most of the world’s electronics are already produced in China with IP and inputs still
distributed across countries. Further concentration of the crucial memory chip market to China only increases the
likelihood of supply chain bottlenecks, not to mention increasing China’s economic clout which can be leveraged for
military advantage.


Risk #5: Jobs – YMTC’S Market Manipulation Jeopardizes U.S. Jobs
The Chinese government strategy puts YMTC in a strong position to tip the NAND market in its favor. Technology analyst
firm Yole Development expects YMTC to have a 13 percent share of NAND wafer marke share by 2027.37 Yole also
forecasts that, partly due to aggressive pricing by YMTC, NAND prices could fall by half, from current levels of 11 cents
per gigabyte today to 5 cents per gigabyte.

Such an aggressive role by a new, subsidized Chinese entrant would put huge pressure on the market. At least one
player is likely to drop out. This could ultimately make the U.S. dependent on Chinese NAND chips, a catastrophic
result from a national security point of view. If could also mean lost investment and jobs for the U.S. if it’s an American
company that is forced to exit.

The U.S. semiconductor business employs an estimated 250,000 people, including some 24,000 in the memory sector.38
These jobs are at risk from a disruptive Chinese incursion into the market. But more than 24,000 well-paid U.S. research,
design, engineering, and manufacturing jobs are at risk from the Apple-YMTC deal. A semiconductor fab is a complex
facility that creates many indirect employment opportunities supporting local low-tech or mid-tech services around
each fab.

                                                            The local economy in Silicon Valley or Beaverton, Oregon or
                                                            Boise, Idaho depends on high-paying, high-tech semiconductor-
When one sector of the                                      related jobs throughout those regions. In addition, semiconductor
industry disappears due                                     companies support research at universities because they need
                                                            a pipeline of future employees in their highly specialized fields.
to subsidized Chinese                                       In sum, the technology industry depends on a broad ecosystem
competition, a pillar of                                    of internet, software, hardware and system companies and the
                                                            educational institutions that support them. When one sector of
the U.S. industry is                                        the industry disappears due to subsidized Chinese competition, a
                                                            pillar of the U.S. industry is knocked out and the larger ecosystem
knocked out and the larger                                  weakened. The U.S. industry is already much weaker due to the
ecosystem weakened.                                         loss of many sectors. The potential loss of memory semiconductors
                                                            would mean the destruction of a major pillar of the U.S. industry.




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EIGHT OPTIONS TO MITIGATE
THE APPLE-YMTC TIE-UP
Ideally Apple will voluntarily end its partnership with YMTC. It can source memory chips from non-Chinese chipmakers
like Micron, Kioxia, Samsung, SK Hynix, Western Digital, and Intel. However as Apple goes forward with a dangerous
deal, U.S. policymakers should explore the following policy measures to mitigate the security risks of Apple’s deal with
YMTC and protect Apple users and others.

According to recent reporting by The Information, the U.S. Department of Commerce’s Bureau of Industry and Security
(BIS) is weighing restrictions on the sale of semiconductor manufacturing equipment (SME) to YMTC and other state-
backed firms Hua Hong Semiconductor and ChangXin Memory Technologies (CXMT).39 The rules, which reportedly
will take months to develop, would build on a model developed for SMIC based on its ties to China’s military-industrial
complex. The strategy is designed to slow the company’s ability to manufacture advanced or more complex chips while
allowing the company to continue to manufacture less advanced chips. In practice, it is difficult to distinguish the types
of equipment to be controlled. The policy will likely dent the sales of Applied Materials, Lam Research and KLA Corp.,
which collectively reported $14.5 billion in sales to China last year. U.S. companies producing in China would also be
impacted because they could not import the needed machines. The policy would coordinate with other SME producing
nations including Netherlands and Japan, where relationships have been strengthened through the recent efforts to
restrict Russian entities following its invasion of Ukraine.

The policy could be integrated with the Creating Helpful Incentives to Produce Semiconductors (CHIPS Act) for America
Act, offering some $52 billion in support to the industry. Some Congressional guardrails propose restrictions on U.S.
firms selling to China, which also accept U.S. taxpayer dollars. However, semiconductor equipment manufacturers have
succeeded in weakening such requirements by arguing that sales must be maintained with China to earn revenue for
continued U.S. R&D. To many, this appears to be a self-serving, short-termist argument.

Notably, stakeholders differ on the rules’ effectiveness, interpretation, and implementation. Some debate on the status
of Chinese chipmaker SMIC and others has emerged between the U.S. Departments of Commerce, State, Energy and
Defense, and on whether and how licenses and exemptions would be granted. Commerce tends to favor licenses and
exemptions while national security-related agencies do not.40 Indeed this predictable outcome prompts many to suggest
that the export control function should be removed from Commerce.


Option #1 (Best Option): Restrict technology
exports to and imports from YMTC
                                                                      The best, most effective protection of national security
                                                                      restricts US technology exports to and imports from
The best, most effective protection                                   YMTC. This requires three steps: (1) adding YMTC to the
of national security restricts US                                     Entity List; (2) creating a Foreign Direct Product Rule
                                                                      (FDPR) to prohibit the shipment of YMTC chips to Apple
technology exports to and imports                                     regardless of whether the resulting chips themselves are
from YMTC.                                                            controlled; and (3) imposing import restrictions on Apple
                                                                      products using YMTC chips per Executive Order 13873 on
                                                                      Securing the Information and Communications Technology
                                                                      and Services Supply Chain.




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The U.S. Commerce Department’s Bureau of Industry and Security (BIS) Entity List regulates companies from doing
business with entities engaged in activities sanctioned by the State Department and activities contrary to U.S. national
security and/or foreign policy interests. It restricts the exports of controlled US technology (specialized hardware,
software, and other products) to Entity List actors. Chips are typically made with semiconductor manufacturing
equipment (SME) and integrated circuit design software. The FDPR would ensure the prohibition on YMTC chips being
shipped to Apple and provide legal clarity. The import restriction would ensure the prohibition of imports of Apple
products with YMTC chips to the US, a needed measure as parties could attempt to find workarounds to the other rules.
Ideally there should be restrictions on all imports of Apple products made under partnership with firms affiliated with
the Chinese military.

US House Foreign Affairs Committee Chairman Michael McCaul and Senate Foreign Relations Committee members
Marco Rubio and Bill Hagerty have all called for BIS to add YMTC to the Entity List, given its deep ties to the Chinese
military. The globalized world enables a relative free movement of goods and services, but this also allows the
proliferation of weapons and dual-use items to be used for hostile purposes. Countries adopt export controls to manage
the distribution of sensitive items to help ensure that people live in a secure environment.41 As such, nations employ
some amount of export control for safety, though no policy is perfect.


Option #2: Examine YMTC Violations of Foreign Direct Product Rule
Another means of protecting American national security from YMTC is to restrict it on the grounds that it violated the
U.S. restrictions on Huawei in the Foreign Direct Product Rule (FDPR). In effect, the FDPR bans the transfers of any
American technology to Huawei.

The Commerce Department, prompted by a report from the firm TechInsights, is already investigating whether YMTC
violated U.S. export controls by providing chips for Huawei’s 20e phone.42 If found to be supplying Huawei, YMTC would
be in violation of the rules. The Commerce Department should also investigate whether YMTC is providing technological
components to Chinese surveillance gear maker Hikvision, which was also placed on the Entity List in 2019.43 Hikvision’s
own advertising materials boast of the incorporation of YMTC storage components.44 Indeed video cameras use large
volumes of memory chips.

Subjecting YMTC to the FDPR alone will not be enough, because the U.S. government has little monitoring or
enforcement capabilities to prevent Chinese companies from transferring necessary technologies to YMTC. The
application of the FDPR to YMTC must happen in conjunction with YMTC being placed on the Entity List.


Option #3: Require Policy Assessment and Audit
Vital policy watchers like the U.S. China Security and Economic Review Commission could conduct an audit of BIS’
activities and effectiveness. Potential negative findings could give Congress momentum to hold hearings on BIS if it
were failing to fulfill essential objectives.

Investigative pressure on BIS from Congress would also have the effect of sending a warning signal to American
companies that increased scrutiny of BIS could translate into increased scrutiny of their own adherence to the American
export control regime.

BIS can also wield its own power of audit and investigation. Perhaps in conjunction with the Central Intelligence Agency,
BIS could also conduct an audit of China-based semiconductor supply chains to determine the extent to which U.S.
export controls are being violated. As new Director Alan Estevez has more national security experience than any prior
BIS Director and does not need to defend the Agency’s past performance, he is in an excellent position to lead a
cross-agency collaboration.

Lastly, national security leaders must know which technologies are being sent to China. Congress could invite certain
American business leaders to testify (or issue subpoenas) regarding their businesses’ connections to China, and
specifically activities related to sensitive technologies and semiconductors.


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Option #4: Investigate Forced Labor Prohibitions
In 2021, President Biden signed into law the Uyghur Forced Labor Prevention Act (UFLPA), which prohibits the
importation of products made with forced labor in the Xinjiang region of China. If YMTC can be proven to use forced
labor in its supply chain, it would warrant a ban on the import of YMTC products into the U.S. Xinjiang produces between
one third and one half of the world’s polysilicon, the base material for silicon wafers.

Human rights advocacy organizations and U.S. government agencies can investigate whether YMTC chips are made
from wafers produced with forced labor. At a minimum, given the extensiveness and opacity of supply chains associated
with Chinese “national champion” companies, concerned entities responsible for enforcing provisions of the UFLPA like
Customs and Border Protection, the State Department and the Forced Labor Enforcement Task Force established under
the U.S.-Mexico-Canada Agreement Implementation Act should investigate how YMTC sources the polysilicon it needs to
make its chips.

If China continues to block foreign officials from inspecting facilities in Xinjiang, the U.S. should presume that forced
labor is indeed involved and enforce further action against YMTC.


Option #5: Invoke NDAA Section 1260
Section 1260H of the National Defense Authorization Act (NDAA) directs the Department of Defense to begin identifying,
among other things, Military-Civil Fusion (MCF) contributors operating directly or indirectly in the United States. There
may be potential to name YTMC as one such company.

YMTC has extensive ties to the Chinese military. As the Chinese government’s leading contender to become a global
powerhouse in semiconductor production, YMTC will likely gain access to advanced technological knowledge from
suppliers and customers alike. It is probable that a military-linked entity like YMTC will be eager to find opportunities to
transfer ostensibly civilian knowledge into military hands.

The Department of Defense consistent with 1260H should publicly identify YMTC as an MCF contributor. At a minimum,
this designation would signal YMTC’s ties to the Chinese military, potentially setting up the use of other authorities, such
as a placement on the Entity List, to decouple it from American technologies.


Option #6: Employ the FCC Covered List
The Federal Communications Commission (FCC) has a unique, important authority granted by Congress to regulate
commercial equipment which uses radio frequencies. Under the Secure and Trusted Networks Act of 2019, Congress has
instructed the FCC to create a Covered List of equipment and services that meet certain criteria and determinations of
national security risk, to update this list periodically, and to add and remove entities accordingly.

As China Tech Threat and Blue Paths Labs noted in a comment submission to the FCC in 2021, the FCC has made a
good start to propose prohibiting equipment authorizations from entities on the Covered List, presently the five Chinese
military aligned companies Huawei Technologies Company, ZTE Corporation, Hytera Communications Corporation,
Hangzhou Hikvision Digital Technology Company and Dahua Technology Company. Given YMTC’s well-established ties
to the Chinese military, there is no reason to keep YMTC off the Covered List.45 Doing so would likely prevent the sale
of iPhones manufactured with YMTC chips inside the United States. Adding YMTC to the Covered List, however, likely
wouldn’t stop Apple from selling iPhones made with YMTC chips around the world.




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Option #7: Use Existing Executive Orders – Securing the Information and
Communications Technology and Services Supply Chain
Executive Order 13873 of May 15, 2019 gives the Secretary of Commerce authority to prohibit “any acquisition,
importation, transfer, installation, dealing in, or use of any information and communications technology or service” which
threatens the national security of the United States.”46 Under these authorities, the Secretary of Commerce could block
the YMTC-Apple deal on national security grounds.


Option #8: Outbound Investment Screening: A New Tool on the Horizon?
U.S. companies receiving certain foreign direct investment are by law required to submit transactions to the Committee
on Foreign Investment in the United States (CFIUS) for review. In recent months, members of the U.S. Senate, notably
Bob Casey and John Cornyn, have urged the creation of a “reverse CFIUS” – a mechanism for screening American
foreign direct investment destined for certain countries, including China, across several critical areas, including
aerospace, electronic communications equipment, robotics, artificial intelligence and semiconductors.

Specifically, the U.S. Congress has in recent months debated a piece of legislation called the National Critical Capabilities
Defense Act (NCCDA). According to a summary of the bill put out by Senators Casey and Cornyn, “Firms operating in
critical industries would need to report outbound investments to certain foreign markets (such as China) and how that
might compromise U.S. national security.”47 Should the U.S. stand up such an instrument, the U.S. government would
be wise to evaluate whether American companies have made investments in YMTC or other companies feeding its
supply chain.




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CONCLUSION
This paper has described the Apple-YMTC partnership and the threats its poses to security, privacy, U.S. technological
leadership, supply chain, and jobs. It has detailed how the deal would negatively impact the global flash memory market
and likely put one western firm out of business, eliminating valuable high-paying jobs. The partnership also offers YMTC
undeserved legitimacy as a chip supplier and bolsters China’s quest to dominate global semiconductor production.

                                                                      The Chinese government wants more than mere
                                                                      displacement of U.S. economic and technology leadership.
US technology exports to                                              It wants its governance model to be the dominant
and imports from YMTC                                                 force in the world and sees technology, particularly
                                                                      semiconductors, as key to economic and military power
should be restricted.                                                 and preeminence.

                                                              Thanks to massive subsidies, YMTC is now in position to
                                                              make competitive chips. American policymakers should
follow the advice of various national security leaders and use its multiple legal authorities and investigative powers
to stop the Apple-YMTC deal. US technology exports to and imports from YMTC should be restricted. BIS should act
immediately to place YMTC on the Entity List.. Concurrently the U.S. can promote the proactive policy to improve the
operating environment for domestic chip production thus improving security and opportunities for American workers.




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